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                        UNITED STATES DISTRICT COURT NORTHERN
                                 DISTRICT OF ILLINOIS

JOEL HABICH, individually and on behalf )
of a class of people similarly situated,    )
                                            ) Case No. 22 CV 4438
                                Plaintiffs, )
                                            )
v.                                          )
                                            ) Removed from:
EXELON CORPORATION,                         ) Circuit Court of Cook County
COMMONWEALTH EDISON                         ) Illinois
COMPANY,                                    )
ACLARA TECHNOLOGIES, LLC                    )
AND                                         )
ACLARA METERS LLC                           )
                                            )
                                Defendants. )
________________________________________________________________________

 PLAINTIFF’S MOTION TO COMPEL DEFENDANT COMMONWEALTH EDISON
COMPANY TO PROVIDE VERIFIED ANSWERS TO RULE 33 INTERROGATORIES
         AND TO STRIKE IMPROPER ANSWERS AND OBJECTIONS

       Plaintiff, JOEL HABICH, by and through his attorneys, GLEN J DUNN &

ASSOCIATES, pursuant to Federal Rules of Civil Procedure Rule 37(a)(3)(B) and Rule

33(b)(5), moves this Court for an order compelling Defendant COMMONWEALTH EDISON

COMPANY (“ComEd”) to provide verified answers to Habich’s Rule 33 Interrogatories, to

strike the unverified and non-responsive answers as deficient, bar all the objections as untimely,

and to award reasonable costs and attorney fees against ComEd and its counsel for the

preparation and presentment of this motion. In support of this Motion, the Plaintiff states as

follows:

   1. On April 6th, 2023, this Honorable Court ordered Plaintiff to serve Defendants with initial

       written discovery requests by 05/08/2023 (Doc. No. 65).




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2. Plaintiff served Defendant ComEd with Rule 33 Interrogatories and Rule 34 Requests to

   Produce on 05/08/2023. The Rule 33 Interrogatories are attached as Exhibit 1.

3. Pursuant to both Rules 33 and 34 of the Federal Rules of Civil Procedure, ComEd’s

   responses to written discovery, along with any objections, were due within 30 days of

   service, or by June 7th, 2023.

4. After many conferrals, ComEd finally provided responses to Plaintiff’s Rule 33

   Interrogatories on July 19th, 2023. ComEd’s responses to Plaintiff’s Rule 33

   Interrogatories are attached as Exhibit 2. ComEd provided its responses to the Rule 33

   Interrogatories nearly 1.5 months after they were due.

5. The answers are still unverified, which is in violation of Fed. R. Civ. P. 33(b)(5).

   Unverified answers do not meet the requirements of Rule 33. See, U.S. v. 58.16 Acres of

   Land, et al., 66 F.R.D. 570, 572 (E.D. Ill. 1975).

6. The responses to the Plaintiff’s Rule 33 Interrogatories provided by ComEd are deficient

   in the following ways:

   a. Interrogatory No. 3: ComEd’s response is deficient as it only identifies one current

       and three former ComEd employees and fails to address the interrogatory with respect

       to identifying “outside contractors and/or vendors” as sought for by the Interrogatory.

   b. Interrogatory No. 4: ComEd’s response is deficient as it limits its response to

       eligibility and fails to identify “each policy, field manual, or other directives and/or

       training materials associated with identifying eligible residential and commercial

       electric/power service customers” and further fails to identify these materials with

       respect to the “inspection, installation, service, maintenance and replacement” of the

       smart meters as sought for by the Interrogatory. Co-Defendant Aclara Meters LLC’s



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       verified response to Plaintiff’s Rule 33 Interrogatories states “Installation practices

       are determined exclusively by the purchasing utility” which includes ComEd and

       Exelon. (See, ¶6, Exhibit 6, Doc. No. 76).

   c. Interrogatory No. 5: ComEd’s response is deficient because it fails to identify “all

       customer complaints” and rather only identifies “fire events,” thereby answering only

       a part of the interrogatory.

   d. Interrogatory No. 6: ComEd’s response is deficient because it identifies the cause

       and/or origin of the fire at Don’s Hot Dogs as an external fire unrelated to the meter,

       but fails to identify what that external fire was or provide a response to “please

       identify all the evidence and facts that Defendant relies on for its conclusion(s)”.

   e. Interrogatory No. 9: ComEd’s response is deficient because it fails to identify the

       person(s) most knowledgeable about the warnings, or its lack thereof, as sought for

       by the interrogatory.

   f. Interrogatory No. 11: ComEd’s response is deficient because it merely reads “see

       answer to Interrogatory No. 6”, which as mentioned above, is deficient, and refers to

       the cause and/or origin of the fire, which is different from what this interrogatory asks

       about, to wit, the electrical power wiring within the smart meter housing.

7. When ComEd failed to provide its answers on the original due date of June 7th 2023,

   pursuant to Rule 37 of the Federal Rules of Civil Procedure, and Northern District of

   Illinois Local Rule 37.2, Plaintiff’s counsel attempted to confer with Defense counsel on

   06/09/23, 06/12/23, 06/13/23, and 06/23/23, in an attempt to obtain ComEd’s compliance

   with Plaintiff’s discovery requests.




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8. After ComEd sent its deficient responses on 07/19/23, Plaintiff’s counsel attempted to

   confer on 07/24/23 and 07/25/23, but received no response from Defense counsel. When

   Defense counsel finally called to confer on 07/26/23, they merely restated that they do

   not agree with the Plaintiff’s position that the answers were deficient or that the

   objections were untimely and waived. The email correspondence pertaining to LR 37.2

   conferrals on the dates mentioned above are attached as Group Exhibit 3.

9. A conferral was held today (08/11) between Plaintiff’s counsel and Defense Counsel

   relating to ComEd’s responses to Plaintiff’s Rule 34 Requests, at which time no

   discussion was held relating to ComEd’s Rule 33 Interrogatory responses and Defense

   counsel did not volunteer any information about the verification of the responses

   provided to Plaintiff’s Rule 33 interrogatories.

10. Given that the Defendants have failed to raise timely objections to the Rule 33

   Interrogatories within 30 days of service, and Defense counsel have failed to provide any

   justification for the delay in raising those objections in a timely manner, the Plaintiff

   seeks that this Court compel ComEd to provide verified and complete answers to Plaintiff

   instanter, and strike all objections as untimely. Generally, in the absence of an extension

   of time for good cause, the failure to object to interrogatories within the time fixed by the

   rule, constitutes a waiver of any objection. See, Footnote 2, Autotech Technologies Ltd.

   Partnership v. Automationdirect.com, Inc., 236 F.R.D. 396 (N.D. Ill. 2006) (“The text of

   Rule 33 includes an automatic waiver provision where there has been an untimely

   objection. Rule 34 does not. Nonetheless, Courts are uniform in their interpretation of the

   rules as permitting a finding of waiver where objections are not timely made and the

   objector cannot show good cause for the delay.”); See also, Poulos v. Naas Foods, Inc.,



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         959 F.2d 69, 74 (7th Cir. 2012); Fond Du Lac Plaza, Inc. v. Reid, 47 F.R.D. 221 (E.D.

         Wis. 1969).

    11. ComEd has objected to interrogatories as being irrelevant, beyond the scope, overbroad,

         unduly burdensome, and vague, without providing any explanation as to why or how

         those objections apply. Objections to interrogatories must be specific and supported by a

         detailed explanation as to why interrogatories or a class of interrogatories is

         objectionable. See, 58.16 Acres of Land, 66 F.R.D at 572 (supra) (citing to Rupp v. Vock

         and Weiderhold, Inc., 52 F.R.D. 111 (N.D. Ohio. 1971); White v. Beloginis, 53 F.R.D.

         480 (S.D.N.Y. 1971); Apco Oil Corp. v. Certified Transportation Inc., 46 F.R.D. 428

         (W.D. Mo. 1969). ComEd has failed to do so. Further, ComEd provides answers over

         their objections to all interrogatories, which also waives those objections.

    12. It has been repeatedly held by courts that a position that the answers are “subject to and

         without waiving” such objections, is ineffective. See, Novelty, Inc. v. Mountain View

         Marketing, Inc., 265 F.R.D. 370, 375 (S.D. Ind. 2009) [citing DL v. District of Columbia,

         251 F.R.D. 38, 43 (D.D.C. 2008) (“holding ineffective general objections even though

         the request indicated that production was “subject to and without waiving those

         objections, because the objections were not presented with sufficient specificity to enable

         the court to evaluate their merits”)]; In re Peregrine Financial Group Customer

         Litigation, 2015 WL 1344466 (N.D. Ill. Mar. 20, 2015) at *5 (“Plaintiffs have already

         provided a partial response to Interrogatory No. 7. This waives any objection related to

         this limited set of discovery answers.”).1


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  See also, Ochoa v. Empresas ICA, 2012 U.S. Dist. LEXIS 111182* (S.D. Fl. Aug. 8, 2012, at *4) (“The parties
shall not recite a formulaic objection followed by an answer to the request … Such an objection and answer
preserves nothing and serves only to waste the time of the Parties and the Court. Further, such practice leaves the
requesting Party uncertain as to whether the question has actually been fully answered or whether only a portion of

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    13. Plaintiff seeks that this Honorable Court award the Plaintiff reasonable costs and

         attorney’s fees for the preparation and presentment of this Motion. (See, Hangzhou

         Aoshuang E-commerce Co., Ltd. v. 008Fashion, 336 F.R.D. 154, 155 (N. D. Ill. 2020)

         [“Under Rule 37, attorneys’ fees, if otherwise appropriate – and assuming the challenged

         refusal was not “substantially justified” – must be awarded following the granting of a

         Motion to Compel Discovery.” (Referencing footnote 1, which provides “Rule 37(a)(5)

         provides that the “court must … require the party … whose conduct necessitated the

         motion … to pay the movant’s reasonable expenses incurred in making the motion,

         including attorneys’ fees.” (Emphasis Added)]. Magistrate Judge Jeffrey Cole noted in

         Fudali, 284 F.R.D. at 403 (supra),

             “Where any party acts inappropriately and causes his opponent to incur needless costs
             to secure compliance with discovery obligations, Rule 37 provides a remedy and
             should not receive a grudging application. In Rickels v. City of South Bend, Indiana,
             33 F.3d 785, 786-87 (7th Cir. 1994), Judge Easterbrook said: ‘The great operative
             principle of Rule 37(a)(4) is that the loser pays.’ Charles Alan Wright & Arthur R.
             Miller, 8 Federal Practice and Procedure § 2288 at 787 (1970). Fee shifting when
             the judge must rule on discovery disputes encourages their voluntary resolution and
             curtails the ability of litigants to use legal processes to heap detriments on adversaries
             (or third parties) without regard to the merits of the claims.” (Parenthesis in original).
             See also Sambrano v. Mabus, 663 F.3d 879, 881-82 (7th Cir. 2011) (“Sanctions such
             as orders to pay the other side’s attorneys’ fees may redress injuries done to put-upon
             adversaries …”); United States Freight Co. v. Penn Cent. Transp. Co., 716 F.2d 954,
             955 (2nd Cir. 1983) (“General deterrence, rather than mere remediation of the
             particular parties’ conduct, is a goal under Rule 37; unconditional impositions of
             sanctions are necessary to deter ‘other parties to other lawsuits’ from flouting ‘other
             discovery orders of other district courts.”).”




the question has been answered.”); Myers v. Goldco, Inc., 2008 U.S. Dist. LEXIS 37089, at *2-3 (N.D. Fla. May 6,
2008); Russell v. Daiichi-Sankyo, Inc., 2012 U.S. Dist. LEXIS 49161 at *10 (D. Mont. Apr. 6, 2012) (“The Court
here is also concerned about DSI’s practice of objecting and then responding ‘without waiving the objection.’ That it
is a common practice does not make it acceptable. It was expressly disapproved by this Court nearly a decade
ago.”); Leisure Hospitality Inc. v. Hunt Props, Inc., 2010 U.S. Dist. LEXIS 93680, at *9-10 (N.D. Okla. Sept. 8,
2010) (“A party may object to some or all of the requested discovery, but it must be clear whether the responding
party is objecting or not, and if objecting, to what part of the request and on what specific grounds.”).

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   14. Plaintiff believes the award of all reasonable costs, including attorneys’ fees, associated

       with the preparation and presentment of the instant motion is appropriate both to

       encourage the voluntary resolution of all remaining discovery disputes in this case, as

       well as to serve as a deterrent to other litigants in this District from engaging in similar

       behavior.

       WHEREFORE, Plaintiff seeks that this Honorable Court strike ComEd’s unverified

responses, compel ComEd to provide verified answers to Plaintiff’s Rule 33 interrogatories

pursuant to Rule 37(a)(3)(B) instanter, bar any objections as untimely, and further award

reasonable expenses and attorney’s fees incurred in bringing this Motion pursuant to Rule

37(a)(5)(A), and any other relief that this Court deems fair and equitable.




                                                      Respectfully Submitted,
                                                      /s/Glen J. Dunn, Jr.
                                                      Glen J. Dunn. Jr.
                                                      Attorney for Plaintiff

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                             CERTIFICATION OF CONFERRAL

        As described in this Motion, plaintiff’s counsel has attempted to confer with defense
counsel regarding the deficiencies in Defendant’s response to Plaintiff’s Rule 33 Interrogatories
in good faith on 06/12/23, 06/13/23, 06/23/23, and 07/26/23, and have failed to reach a
resolution.

                                                      /s/Glen J. Dunn, Jr.
                                                      Glen J. Dunn, Jr.




                                 CERTIFICATE OF SERVICE

        The undersigned, an attorney, certifies that he caused this Motion to be filed, using the
CM/ECF system, which will send a true and correct copy to all Counsel of Record who have
filed an appearance herein, on this 11th day of August, 2023.


                                                      Respectfully submitted,
                                                      /s/Glen J. Dunn, Jr.
                                                      Glen J. Dunn, Jr.
                                                      Attorney for Plaintiff


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